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UNITED STATES DISTRICT COURT '
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

RONALD SEROSKI, and DIANA SEROSKI,

Plaintift`s,
V. ' CASE NO.: 611 5-CV~1899-ACC-KRS
TD BANK, N.A.

Defendant.

STIPULATION OF DISMISSAL

Plaintit`fs, Ronald Seroksi and Diana'Sereski (the “Ser'oskis”), and Defcndant, TD Banl-c,
N.A. (“TD Ban|c”) stipulate and agree as follows, pursuant to Fed. R.' Civ. Pro. 41:

l. All claims asserted, or that could have been assertcd, by the Seroslcis against TD
Bank in this action are hereby dismissed with prejudice

2. This dismissal shall be without award of costs to any party, and each party shall

bear its Owrl attorneys’ fees and other expensesl

RONALD SER SKI AND DIANA SEROSKl TD BANK, N.A.

By ' ttorneys,

 

 

 

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CERTIFICATE OF SERVICE

l hereby certify that this doeument, filed through the ECF system, Will be Sent

electronically to the registered participants as identified on the Notice ofElcetronic Filing and
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paper copies will be sent to those indicated as non-registered participants on-}amrzrry‘ , 2016.

     

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